Case 2:16-cv-00092-ADS-AKT Document 14 Filed 08/19/16 Page 1 of 2 PageID #: 50




  UNITED STATES DISTRICT COURT

  EASTERN DISTR]CT OF NEW YORK

                                     -----x

 GERALD WELLS,

                                                     Case No. 2:16-cv-00092

                  Ptaintiff,                         STIPULATION OF DISMISSAL

  MERCANTILE ADJUSTMENT BUREAU,               LLC,     WITH PREJUDICE

                      Defendant.

                               -------------x

  Pursuant to Rule a1(aX1) of the Federal Rules of Civil Procedure, Plaintiff

  GERALD WELLS    ("Plaintiff ") and Defendant   MERCANTILE ADJUSTMENT

  BUREAU, LLC,("Defendant") file this Stipulation of Dismissal   with Prejudice
  on Account of Settlement (the "stipulation") and would respectfully show the

  Court as follows:



     L.   Because of disputes over liability and damages and because of the

  uncertainties of litigation, Plaintiff and Defendant have conlpromised and

  settled all claims and causes of action that were or could have been asserted by
  Plaintiff against Defendant arising out of or in any way related to the matters

  raised in the action captioned GERALD WELLS v. MERCANTILE ADJUSTIfiENT

  BIJREAU, il,Cl case no. 2:16-cv-00092 (the "Suit") and Plaintiff no longer wishes   to
  pursue this aption.



     2.   Each party entered into the Settlement Agreernent voluntarily and
7
    Case 2:16-cv-00092-ADS-AKT Document 14 Filed 08/19/16 Page 2 of 2 PageID #: 51




     knowingly, and understands fully the meaning and effect of its executing said

     Agreement. The parties agree that the terms of the Settlement Agreement are
     just and fair.

           3.        Defendant has asserted no counterclaims against Plaintiff.



           4.        The parties agree that this action should be dismissed with prejudice

     and respectfully request the Court to enter an Order of Dismissal with Prejudice.



                                                            Respectfu I ly su bm itted,

                                                            Edward B. Geller, Esq.,   P.C.

                                                            By   /s/Edwafd B, Geller(EG9763)
                                                            15 Landing Way

                                                            Bronx, New York 1A464

                                                            Tel:(9141473-6783

                                                            Attorney for Plaintiff

     Sessions, Fishman, Nathan & lsrael, L.L.C.

      By   /s/Aaron R. Easlev,                       Esq.

     3 Cross Creek Drive

      Flemington,                      NJ   08822-4938

     Tel: (908)237-rc6A

       t       .-t*"..-t.",......t-'
           ,                                    ..



     Attorney for Defendant
